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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:22−cr−00460
                                                          Honorable Andrea R. Wood
Emil Jones, III
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 21, 2022:


        MINUTE entry before the Honorable Andrea R. Wood as to Emil Jones, III:
Arraignment set for 9/23/2022 is stricken and reset for 9/23/2022 at 12:00 PM. (TIME
CHANGE ONLY). The arraignment shall proceed by telephone conference. To ensure
public access to court proceedings, members of the public and media may call in to listen
to telephonic hearings. The call−in number is (888) 557−8511 and the access code is
3547847. Counsel of record will receive an email 30 minutes prior to the start of the
telephonic hearing with instructions to join the call. Persons granted remote access to
proceedings are reminded of the general prohibition against photographing, recording, and
rebroadcasting of court proceedings. Violation of these prohibitions may result in
sanctions, including removal of court−issued media credentials, restricted entry to future
hearings, denial of entry to future hearings, or any other sanctions deemed necessary by
the Court. Mailed notice (lma, )




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